Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 1 of 17

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on November 10, 2021

UNITED STATES OF AMERICA
v.
JOLY GERMINE, also known as Yonyon,
ELIANDE TUNIS,
JOCELYN DOR, and
WALDER ST. LOUIS,

Defendants.

Case No.

VIOLATIONS:

18 U.S.C. § 371

(Conspiracy to Violate the Export Control
Reform Act, 50 U.S.C. § 4819, and to
Defraud the United States)

50 U.S.C. § 4819
(Export Control Reform Act)

18 U.S.C. §§ 554(a), 2
(Smuggling, Aiding and Abetting, Causing
an Act to be Done)

18 U.S.C. §§ 1956(a)(3)(A)), 2
(Laundering of Monetary Instruments,

Aiding and Abetting, Causing an Act to be
Done)

Filed Under Seal

INDICTMENT

The Grand Jury charges that:

COUNT ONE

(Conspiracy to Violate the Export Control Reform Act, 50 U.S.C. § 4819)

At all times material to this Indictment:

INTRODUCTION

400 Mawozo and Haiti Kidnappings

1. 400 Mawozo is a Haitian gang and criminal organization that operated in the Croix-
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 2 of 17

des-Bouquets area to the east of Port-au-Prince, Haiti.

2. From at least on or about January 12, 2020, until the present, 400 Mawozo was
engaged in armed kidnappings of U.S. citizens in Haiti for ransom.

3, On or about October 16, 2021, sixteen U.S. citizens and one Canadian citizen were
kidnapped near Port au Prince, Haiti, including five children, one as young as eight months old.
The victims were part of a missionary organization and had been taking a bus to visit a local
orphanage. While the victims were returning therefrom, the kidnappers forced at gunpoint the
group’s bus driver to stop, and they took control of the bus and its occupants.

4. On or about October 16, 2021, a representative of the missionary organization
received a phone call from an individual claiming to be the leader of the kidnappers. The individual
stated that he had the victims and was holding them for ransom of $1 million each ($17 million
total). The individual told the representative that he would be in touch regarding next steps.

SE On or about October 18, 2021, Haitian social media began to share reporting that a
specific gang, known locally as 400 Mawozo, had taken credit for the kidnapping and was making
publicly known the ransom demand. On or about October 22, 2021, a Facebook video post showed
a leader of the gang, referred to herein as Individual 2, at a local funeral for gang members who
had been killed, stating that he intended to kill the Americans if he did not receive his money. On
or about November 17, 2021, a Facebook video post showed Individual 2 further claiming credit
for the kidnapping.

6. As of the date of this Indictment, the hostage takers have had several ransom calls
with a representative of the missionary organization. The hostage takers have released only two of

the victims.
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 3 of 17

BACKGROUND
The Export Control Reform Act

7. The Export Control Reform Act of 2018 (“ECRA”) provides, among its stated
policy objectives, that “[t]he national security and foreign policy of the United States require that
the export, reexport, and in-country transfer of items, and specific activities of United States
persons, wherever located, be controlled... .” 50 U.S.C. § 4811(2). To that end, ECRA grants the
President the authority to contro! “(1) the export, reexport, and in-country transfer of items subject
to the jurisdiction of the United States, whether by United States persons or by foreign persons;
and (2) the activities of United States persons, wherever located, relating to” specific categories of
items and information. Jd. at § 4812(b). ECRA further grants to the Secretary of Commerce the
authority to establish the applicable regulatory framework. Id. at § 4813(a).

8. Pursuant to ECRA, the Department of Commerce (“DOC”) reviews and
controls the export of certain items, including commodities, software, and technologies, from
the United States to foreign countries through the Export Administration Regulations (“EAR”),
15 C.F.R. §§ 730-774. In particular, the EAR restrict the export of items that could make a
significant contribution to the military potential of other nations or that could be detrimental to
the foreign policy or national security of the United States. The EAR impose licensing and other
requirements for items subject to the EAR to be exported lawfully from the United States or
re-exported lawfully from one foreign destination to another.

- The most sensitive items subject to EAR controls are identified on the Commerce
Control List (“CCL”), published at 15 C.F.R. part 774, Supp. No. 1. Items on the CCL are
categorized by an Export Control Classification Number (“ECCN”) based on their technical

characteristics. Each ECCN has export control requirements depending on the destination, end
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 4 of 17

user, and end use.

10. Relevant here, the DOC is responsible for licensing the export of a variety of
firearms and related commodities from the United States. When required, these licenses are issued
by the DOC’s Bureau of Industry and Security (“BIS”), which is located in the District of
Columbia,

11. Relevant here, and as described further herein, the rifles and pistols purchased in
furtherance of the conspiracy have been classified by BIS under ECCN 0A501.a, the shotgun
purchased in furtherance of the conspiracy has been classified by BIS under ECCN 0A502, and
the ammunition purchased in furtherance of the conspiracy has been classified by BIS under ECCN
0A505.a. Items under these ECCNs are controlled for the following reasons: (i) National Security,
Regional Stability, and Firearms Convention (ECCN 0A501.a); (ii) Crime Control and Firearms
Convention (ECCN 0A502); and Firearms Convention, National Security, and Regional Stability
(ECCN 0A505.a). Accordingly, export of these weapons from the United States to Haiti requires
an export license issued by BIS.

12. Pursuant to 50 U.S.C. § 4819(a)(1), “[i]t shall be unlawful for a person to violate,
attempt to violate, conspire to violate, or cause a violation of this subchapter or of any regulation,
order, license, or other authorization issued under this subchapter, including any of the unlawful
acts described in paragraph (2).” Such unlawful acts include, among other acts, that “[n]o person
may order, buy, remove, conceal, store, use, sell, loan, dispose of, transfer, transport, finance,
forward, or otherwise service, in whole or in part, or conduct negotiations to facilitate such
activities for, any item exported or to be exported from the United States, or that is otherwise
subject to the [EAR], with knowledge that a violation of this subchapter, the [EAR], or any order,

license or authorization issued thereunder, has occurred, is about to occur, or is intended to occur
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 5 of 17

in connection with the item unless valid authorization is obtained therefor.” Jd. at § 4819(a)(2).
Pursuant to 50 U.S.C. § 4819(b), “[a] person who willfully commits, willfully attempts to commit,
or willfully conspires to commit, or aids and abets in the commission of, an unlawful act described
in subsection (a)” shall be guilty of a crime.
The Gun Control Act

13. The Gun Control Act, 18 U.S.C. § 921 et seq., requires a license to deal in firearms
from the Attorney General, who is located in the District of Columbia. Firearms dealers are
required to fill out, keep, and maintain paperwork, i.e., a Firearms Transaction Record, related to
certain firearms sales, and make the same available to the Bureau of Alcohol, Tobacco, Firearms,
and Explosives (“ATF”), which is also located in the District of Columbia. Among other things, it
is illegal under the Gun Control Act to make a false statement during the purchase of a firearm.
See 18 U.S.C. § 922(a)(6).

THE DEFENDANTS

14. JOLY GERMINE, also known as Yonyon (“GERMINE”) is a Haitian national
and a member of 400 Mawozo. GERMINE is incarcerated in Haiti, but still serves as a leader of
the organization in Haiti and directs operations from prison using unmonitored cellular phones.

15. Individual 2 is a Haitian national and a leader of 400 Mawozo. Individual 2 lives in
Haiti. Individual 2 has appeared on videos posted on social media, stated his name, and declared
himself as a leader of 400 Mawozo, including videos posted on social media sites YouTube and
Facebook on or about October 22, 2021. Individual 2 has given video recorded statements to the
Haitian press in which he claims to be a leader of 400 Mawozo, including in videos posted by press
organizations on or about April 13, 2020, and September 6, 2021. On or about November 17, 2021,

Individual 2 claimed responsibility for kidnapping the sixteen U.S. citizens on or about October
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 6 of 17

16, 2021.

16.  ELIANDE TUNIS (“TUNIS”) is a U.S. citizen, born in Haiti, who resides in
Florida and is a member of 400 Mawozo.

17. JOQCELYN DOR (“DOR”) is a Haitian citizen, who resides in Florida. DOR holds
a Florida carrying a concealed weapon (“CCW”) permit, and, as a result, the Florida mandatory
waiting period to possess a firearm is inapplicable to DOR.

18. WALDER ST. LOUIS (“ST. LOUIS”) is a Haitian citizen, who resides in Florida.
ST. LOUIS holds a Florida CCW permit, and, as result, the Florida mandatory waiting period to

possess a firearm is inapplicable to ST. LOUIS.

JURISDICTION AND VENUE
19. Acts and omissions in furtherance of the offenses under investigation occurred
within the District of Columbia.
THE CONSPIRACY
20. Beginning at least on or about September 12, 2021, and continuing until on or about

November 8, 2021, GERMINE, TUNIS, DOR, ST. LOUIS, and others known and unknown to the
Grand Jury, in the District of Columbia and elsewhere, knowingly combined, conspired,
confederated, and agreed together and with each other (1) to commit a crime against the United
States and its agency, DOC, to wit, to export and cause the exportation of goods from the United
States to Haiti without having first obtained the required licenses from BIS, in violation of 50
U.S.C. § 4819 (ECRA), and (2) to defraud the United States by interfering with and obstructing a
lawful government function, that is, the enforcement by ATF of laws and regulations related to the

purchase and sale of firearms, by means of deceit, craft, trickery, and dishonesty.
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 7 of 17

Goals
21. The goals and purposes of the conspiracy were, among others:
a. to acquire U.S.-origin goods, specifically firearms and ammunition, from

the United States to supply to members of the 400 Mawozo gang in Haiti;

b. to support the gang activities of 400 Mawozo, including the kidnapping with
firearms of individuals for ransom;

C. to evade the prohibitions and licensing requirements of ECRA;

d. to conceal from United States licensed firearm dealers and, in turn from the
United States government and its agency, ATF, that the U.S.-origin goods were destined
for Haiti so as to avoid penalties and disruption of the illegal activity; and

e. to frustrate the laws and regulations of the United States.

Manner and Means
22. It was further a part of the conspiracy that defendants used the following manner
and means to achieve the goals of the conspiracy:

a. TUNIS regularly contacted the phones utilized by GERMINE and
Individual 2.

b. Individual 2 would instruct GERMINE regarding the types of firearms that
400 Mawozo needed.

c. TUNIS, DOR, and ST. LOUIS obtained from GERMINE specifications for
weapons and ammunition that GERMINE and Individual 2 wanted to be sent to Haiti for
use by 400 Mawozo.

d. TUNIS purchased, and instructed DOR and ST. LOUIS to purchase,

firearms (rifles, pistols, and shotguns) and ammunition for 400 Mawozo, all of which
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 8 of 17

required a license for export.

Ge TUNIS, DOR, and ST. LOUIS filled out ATF forms falsely stating that they
were the “actual buyers” of the firearms and that they were not buying the firearms for
another person, wien in fact, they intended to ship and did ship the firearms to Haiti for
use by 400 Mawozo.

f. TUNIS, DOR, and ST. LOUIS failed to obtain valid export license(s) from
BIS for their purchases.

g. TUNIS, DOR, and ST. LOUIS shipped and caused the firearms and
ammunition to be shipped to Haiti, or attempted the same, in part by smuggling.
Specifically, certain of the firearms and ammunition were wrapped in garbage bags, loaded
into large multi-gallon drums/barrels, and then covered with various products such as
clothes, shoes, and Gatorade to hide the presence of firearms and ammunition.

h. TUNIS, DOR, and ST. LOUIS conducted and attempted to conduct
financial transactions affecting interstate or foreign commerce, to pay for the firearms and
ammunition they were purchasing.

i. In order to fund this conspiracy, at least in part, TUNIS obtained money
from V-1, an elderly individual for whom TUNIS worked, and caused the same to be wired
to TUNIS’S bank account.

j. After learning of a law enforcement investigation into their activities,
TUNIS, DOR, ST. LOUIS, and others known and unknown to the grand jury, moved or
concealed, and attempted to do the same, firearms and ammunition purchased in

furtherance of the conspiracy.
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 9 of 17

Overt Acts
23. In furtherance of the conspiracy and to affect the objects of the conspiracy, the
following overt acts, among others, were committed in the District of Columbia and elsewhere:

a. On or about September 17, 2021, GERMINE sent a series of text messages
to TUNIS including a photograph of DOR’s Florida CCW permit, a photograph of a “SVD
Romak sniper 7.62x54r” rifle on sale for $2,000, and a cell phone contact card for DOR.

b. On or about September 23, 2021, GERMINE and DOR had a 14-minute
call.

Ci On or about September 28, 2021, GERMINE and TUNIS exchanged a
series of WhatsApp text and audio messages related to purchases of firearms by DOR and
ST. LOUIS.

d. On or about September 28, 2021, an individual in Haiti wired $2,000 to
DOR. °

e. On or about September 29, 2021, an individual in Haiti wired $2,500 to
DOR.

f. On or about October 4, 2021, GERMINE had an 86-minute call with
TUNIS, during which GERMINE also placed a three-way call to DOR, who was on the
call for 46 minutes.

g. On or about October 4, 2021, TUNIS sent $1,000 to DOR via an online
payment application.

h. On or about October 5, 2021, TUNIS withdrew $15,000 from a bank
account registered in her name and wired the same to DOR.

i. On or about October 5, 2021, TUNIS and DOR exchanged a series of
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 10 of 17

WhatsApp text and audio messages while DOR was purchasing firearms.

j. On or about October 5, 2021, DOR sent TUNIS an audio message via
WhatsApp in which DOR stated how a particular rifle can be broken down for shipment.

k. On or about October 6, 2021, GERMINE placed two phone calls to ST.
LOUIS.

I. On or about October 6, 2021, TUNIS withdrew $16,000 from a bank
account registered in her name.

m. On or about October 6, 2021, TUNIS forwarded to ST. LOUIS an audio
message via WhatsApp, in which GERMINE admonished ST. LOUIS for his failure to
follow GERMINE’s instructions to purchase firearms and praised DOR for quickly
following similar orders.

n. On or about October 9, 2021, TUNIS took pictures of the barrels she had
used to smuggle firearms and ammunition.

0. On or about October 11, 2021, ST. LOUIS sent an audio message via
WhatsApp to TUNIS stating that he had sent two barrels containing firearms to Haiti.

p. On or about October 11, 2021, TUNIS arranged for an individual in Haiti
to wire $2,500 to ST. LOUIS.

q. On or about October 18, 2021, GERMINE had a 7-minute call with
Individual 2, and then immediately thereafter placed an 8-minute call to TUNIS.

r. On or about October 19, 2021, TUNIS took pictures of the barrels she had
used to smuggle firearms and ammunition and sent the same to GERMINE.

s. On or about October 20, October 22, and October 28, 2021, GERMINE and

ST. LOUIS exchanged iMessages.

10
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 11 of 17

t. On or about the following dates, TUNIS, DOR, and ST. LOUIS purchased

the following firearms:

Purchased

Make Model Type Caliber On or About
Century Arms VSKA w/ Red Dot Sight | Rifle 7.62x39mm | 9/28/2021
Century Arms VSKA Rifle 7.62x39mm 9/29/2021
Century Arms VSKA Rifle 7.62x39mm 10/1/2021
Century Arms VSKA Rifle 7.62x39mm 10/1/2021
Century Arms VSKA w/ Red Dot Sight | Rifle 7.62x39mm 10/5/2021
Riley Defense Rak 47 Rifle 7.62x39mm | 10/5/2021
Barrett Manufacturing | 82A1 Rile 50 10/6/2021
Century Arms VSKA Rifle 7.62x39mm 10/6/2021
Century Arms WASR-10 Rifle 7.62x39mm 10/6/2021
Palmetto Arms PA15 Rifle 5.56 10/6/2021
Springfield Armory MIA Rifle 308 10/6/2021
SAR SAR-9 Pistol 9mm 10/11/2021
Ruger Five Seven Pistol 5.7x28mm 10/14/2021
Century Arms Centurion 12 Gauge Shotgun | Shotgun 10/16/2021
Century Arms VSKA Rifle 7.62x39mm 10/17/2021
Century Arms VSKA Rifle 7.62x39mm 10/17/2021
Century Arms VSKA w/ Red Dot Sight | Rifle 7,.62x39mm ___| 9/28/2021

u. On or about the following dates, TUNIS, DOR, and ST. LOUIS falsely

filled out ATF Form 4473 in order to purchase firearms:

Date of Form Buyer Location of Dealer
9/28/2021 DOR Orlando, FL
9/29/2021 DOR Orlando, FL
10/1/2021 DOR Orlando, FL
10/5/2021 DOR Apopka FL

10/6/2021 DOR Orlando, FL
10/6/2021 ST. LOUIS Miami, FL
10/11/2021 TUNIS Pompano Beach, Fl
10/16/2021 ST. LOUIS Miami, FL

11
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 12 of 17

(Conspiracy to Violate the Export Control Reform Act, 50 U.S.C. § 4819, in violation of Title
18, United States Code, Section 371)

COUNTS TWO THROUGH SEVENTEEN

(Export Control Reform Act, 50 U.S.C. § 4819)
24, The allegations in Paragraphs 1 through 23 of this Indictment are incorporated and
re-alleged by reference herein.
25. On or about the dates listed below, defendants GERMINE, TUNIS, DOR, and ST.
LOUIS did knowingly and willfully export, attempt to export, and cause to be exported goods, as
described in each Count below, from the United States to Haiti, without having first obtained the

required licenses from BIS, located in the District of Columbia, all in violation of ECRA:

Count | Make Model Type Caliber On or About
2 Century Arms VSKA w/ Red Dot Sight Rifle 7.62x39mm | 9/28/2021
3 Century Arms VSKA Rifle 7.62x39mm | 9/29/2021
4 Century Arms VSKA Rifle 7.62x39mm | 10/1/2021
5 Century Arms VSKA Rifle 7.62x39mm | 10/1/2021
6 Century Arms VSKA w/ Red Dot Sight Rifle 7.62x39mm_ | 10/5/2021
7 Riley Defense Inc Rak 47 Rifle 7.62x39mm | 10/5/2021

Barrett Manufacturing
8 Inc 82Al Rile 50 10/6/2021

Century Arms VSKA Rifle 7.62x39mm | 10/6/2021
10 Century Arms WASR-10 Rifle 7.62x39mm | 10/6/2021
11 Palmetto Arms PAI5 Rifle 5.56 10/6/2021
12 Springfield Armory MIA Rifle 308 10/6/2021
13 SAR SAR-9 Pistol 9mm 10/11/2021
14 __| Ruger Five Seven Pistol 5.7x28mm_| 10/14/2021
15 Century Arms Centurion 12 Gauge Shotgun | Shotgun 10/16/2021
16 Century Arms VSKA Rifle 7.62x39mm | 10/17/2021
17 Century Arms VSKA Rifle 7.62x39mm | 10/17/2021

(Export Control Reform Act, Aiding and Abetting, Causing an Act to be Done, in violation
of Title 50, United States Code, Section 4819)

12
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 13 of 17

COUNT EIGHTEEN

(Smuggling)

26. The allegations in Paragraphs 1 through 23 of this Indictment are incorporated and
re-alleged by reference herein.

27. On or about October 9, 2021, in the District of Columbia and elsewhere, defendants
GERMINE, TUNIS, DOR, and ST. LOUIS did fraudulently and knowingly export and send, and
attempt to export and send, firearms and ammunition from the United States to Haiti, and received,
concealed, bought, sold, and in any manner facilitated the transportation, concealment, or sale of
such firearms and ammunition, prior to exportation, knowing the same to be intended for
exportation contrary to law, all contrary to Title 50, United States Code, Section 4819, a law and
regulation of the United States.

(Smuggling, Aiding and Abetting, Causing an Act to be Done, in violation of Title 18, United

States Code, Sections 554(a), 2)
COUNT NINETEEN

(Smuggling)

28. The allegations in Paragraphs | through 23 of this Indictment are incorporated and
re-alleged by reference herein.

29. On or about October 11, 2021, in the District of Columbia and elsewhere,
defendants GERMINE, TUNIS, DOR, and ST. LOUIS did fraudulently and knowingly export and
send, and attempt to export and send firearms and ammunition from the United States to Haiti, and
received, concealed, bought, sold, and in any manner facilitated the transportation, concealment,
or sale of such firearms and ammunition, prior to exportation, knowing the same to be intended
for exportation contrary to law, all contrary to Title 50, United States Code, Sections 4819, a law

and regulation of the United States.

13
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 14 of 17

(Smuggling, Aiding and Abetting, Causing an Act to be Done, in violation of Title 18, United
States Code, Sections 554(a), 2)

COUNT TWENTY

(Smuggling)

30. The allegations in Paragraphs | through 23 of this Indictment are incorporated and
re-alleged by reference herein.

31. On or about October 19, 2021, in the District of Columbia and elsewhere,
defendants GERMINE, TUNIS, DOR, and ST. LOUIS did fraudulently and knowingly export and
send, and attempt to export and send, firearms and ammunition from the United States to Haiti,
and received, concealed, bought, sold, and in any manner facilitated the transportation,
concealment, or sale of such firearms and ammunition, prior to exportation, knowing the same to
be intended for exportation contrary to law, all contrary to Title 50, United States Code, Section
4819, a law and regulation of the United States.

(Smuggling, Aiding and Abetting, Causing an Act to be Done, in violation of Title 18, United
States Code, Sections 554(a), 2)

COUNTS TWENTY-ONE THROUGH TWENTY-EIGHT

(Laundering of Monetary Instruments)

32. The allegations in Paragraphs | through 23 of this Indictment are incorporated and
re-alleged by reference herein.

33. On or about the dates described below, in the District of Columbia and elsewhere,
defendants described below, with the intent to promote the carrying on of specified unlawful
activity, did knowingly conduct and attempt to conduct a financial transaction affecting interstate
and foreign commerce involving property represented, to be property used to conduct or facilitate

specified unlawful activity, to wit: defendants engaged in interstate wire transactions in support of

14
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 15 of 17

the conspiracy to export firearms and ammunition from the United States, as described in Count

One.
COUNT | ON OR ABOUT “hom: DEFENDANTS

21 September 28, 2021 | $2,000 DOR
22 September 29, 2021 | $2,500 DOR
23 October 4, 2021 $950 TUNIS & DOR
24 October 4, 2021 $50 TUNIS & DOR
25 October 5, 2021 $15,000 TUNIS & DOR
26 October 6, 2021 $6,000 TUNIS
27 October 6, 2021 $10,000 TUNIS
28 October 11, 2021 $2,500 TUNIS & ST.

1 LOUIS

(Laundering of Monetary Instruments, Aiding and Abetting, Causing an Act to be Done, in
violation of Title 18, United States Code, Sections 1956(a)(3)(A), 2)

FORFEITURE ALLEGATIONS

1. Upon conviction of the offenses alleged in Counts One through Twenty-Eight of
this Indictment, defendants shall forfeit to the United States any property, real or personal, which
constitutes, or is derived from proceeds traceable to this offense, pursuant to Title 18, United States
Code, Section 981(a)(1)(A) & (C), and Title 28, United States Code, Section 2461(c). The United
States will also seek a forfeiture money judgment for a sum of money equal to the value of any
property, real or personal, which constitutes, or is derived from proceeds traceable to this offense.

Dn Upon conviction of the offenses alleged in Counts Two through Twenty of this
Indictment, defendants shall forfeit to the United States arms or munitions of war or other articles
and any vessel, vehicle, or aircraft containing the same or which has been used in exporting or

15
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 16 of 17

attempting to export such arms or munitions of war or other articles relating to these offenses,
pursuant to Title 22, United States Code, Section 401 and Title 28, United States Code, Section
2461(c).

3. Upon conviction of the offenses alleged in Counts One through Twenty-Eight of
this Indictment, defendants shall forfeit to the United States any property, real or personal,
involved in this offense, or any property traceable to such property pursuant to Title 18, United
States Code, Section 982(a)(1). The United States will also seek a forfeiture money judgment for
a sum of money equal to the value of any property, real or personal, involved in this offense, and
any property traceable to such property.

4, If any of the property described above as being subject to forfeiture, as a result of

any act or omission of defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

@ has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

€. has been commingled with other property that cannot be divided without
difficulty;

16
Case 1:21-cr-00699-JDB Document 11 Filed 11/30/21 Page 17 of 17

defendants shall forfeit to the United States any other property of defendants, up to the value of
the property described above, pursuant to Title 21, United States Code, Section 853(p).

Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28,
United States Code, Section 2461(c), Title 22, United States Code, Section 401, Title 18, United
States Code, Section 982(a)(1), and Title 21, United States Code, Section 853(p).

A TRUE BILL

FOREPERSON

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Attorney of the United States in
and for the District of Columbia

17
